Case 23-90085 Document 1594-4 Filed in TXSB on 11/27/23 Page 1 of 14




                              EXHIBIT D
            Document Requests Served to Elizabeth C. Freeman
                      Case 23-90085 Document 1594-4 Filed in TXSB on 11/27/23 Page 2 of 14
B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/15)

                                      UNITED STATES BANKRUPTCY COURT
                Southern
  _________________________________________               Texas
                                            District of _________________________________________
       Sorrento Therapeutics, Inc., et al.
In re __________________________________________
                                    Debtor
                                                                                              23-90085 (CML)
                                                                                     Case No. _____________________
          (Complete if issued in an adversary proceeding)
                                                                                             11
                                                                                     Chapter ___________
_________________________________________
                                    Plaintiff
                         v.                                                          Adv. Proc. No. ________________
__________________________________________
                                  Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
       Elizabeth Freeman
  To: ________________________________________________________________________________________
                                   (Name of person to whom the subpoena is directed)

  X Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material:

  PLACE         Andrew K. Glenn, Glenn Agre Bergman & Fuentes LLP, 1185 6th                                  DATE AND TIME November 16, 2023 at
                Avenue, New York, NY 10036                                                                                           12:00 p.m. (ET)


      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                      DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

         November 11, 2023
  Date: _____________
                          CLERK OF COURT

                                                                                    OR
                                                                                             /s/ Andrew K. Glenn
                                    ________________________                                ________________________
                                    Signature of Clerk or Deputy Clerk                            Attorney’s signature

  The name, address, email address, and telephone number of the attorney representing (name of party)
   the Equity Committee
  ____________________________       , who issues or requests this subpoena, are:
 Andrew K. Glenn, Glenn Agre Bergman & Fuentes LLP, 1185 6th Avenue, New York NY 10036, aglenn@glennagre.com, (212) 970-1601
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                    Case 23-90085 Document 1594-4 Filed in TXSB on 11/27/23 Page 3 of 14
B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 2)



                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                  ________________________________________________
                                                                                                                Server’s signature

                                                                                  ________________________________________________
                                                                                                             Printed name and title


                                                                                  ________________________________________________
                                                                                                                 Server’s address


Additional information concerning attempted service, etc.:
                     Case 23-90085 Document 1594-4 Filed in TXSB on 11/27/23 Page 4 of 14
B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 3)


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
        Case 23-90085 Document 1594-4 Filed in TXSB on 11/27/23 Page 5 of 14




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


    In re:                                                            Chapter 11

     SORRENTO THERAPEUTICS, INC., et al.,1                            Case No. 23-90085 (DRJ)

                                                                      (Jointly Administered)
                           Debtors.


FIRST REQUEST FOR THE PRODUCTION OF DOCUMENTS FROM THE OFFICIAL
  COMMITTEE OF EQUITY SECURITIES HOLDERS TO ELIZABETH FREEMAN

             Please take notice that, pursuant to Federal Rules of Civil Procedure 26, 34 and 45, made

applicable by Rules 7026, 7034, 9014, and 9016 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), the Official Committee of Equity Securities Holders (the “Equity

Committee”) in the above-captioned cases (the “Chapter 11 Cases”) respectfully submits this

request for the production of documents (the “Document Requests”) to Elizabeth Freeman in

connection with the Joint Plan of Liquidation of Sorrento Therapeutics, Inc. and Scintilla

Pharmaceuticals, Inc. Under Chapter 11 of the Bankruptcy Code [Dkt. No. 1442]. The Equity

Committee requests that the documents and electronic information responsive to the Document

Requests identified in the attached Exhibit A be produced to Andrew K. Glenn, Glenn Agre

Bergman & Fuentes LLP, 1185 Avenue of the Americas, New York, New York 10036, counsel

to the Equity Committee, beginning immediately and completed no later than November 16, 2023

at 12:00 p.m. (Eastern Time).




1
      The Debtor entities in these Chapter 11 Cases, along with the last four digits of each Debtor entity’s federal tax
      identification number, are: Sorrento Therapeutics, Inc. (4842) and Scintilla Pharmaceuticals, Inc. (7956). The
      Debtors’ service address is: 4955 Directors Place, San Diego, CA 92121.

                                                           1
     Case 23-90085 Document 1594-4 Filed in TXSB on 11/27/23 Page 6 of 14




       Please take further notice that the Equity Committee reserves its rights under title 11 of the

United States Code, the Bankruptcy Rules, the Local Rules of the United States Bankruptcy Court

for the Southern District of Texas, and any applicable law regarding the subject matter of these

Document Requests to amend, supplement, and/or modify Exhibit A attached hereto, or serve

additional discovery requests.



                          [Remainder of page intentionally left blank]




                                                 2
     Case 23-90085 Document 1594-4 Filed in TXSB on 11/27/23 Page 7 of 14




                                           EXHIBIT A

                                          DEFINITIONS

       The following definitions of terms apply to all of the Document Requests. Unless

otherwise defined herein, all words and phrases used herein shall be accorded their usual meaning

and shall be interpreted in their common, ordinary sense.

       1.      “Advisors” shall mean any current or former affiliates, agents, representatives,

directors, officers, operators, employees, professionals, Persons, or entities working at the

direction, control, or on behalf of the Debtors.

       2.      “Communication” shall mean the transmittal of information of any kind, in any

form, and by any means, and therefore includes, but is not limited to, any telephone conversation,

face-to-face meeting or conversation, visit, conference, internal or external discussion, or exchange

of Documents. All written Communications shall include, without limitation, electronic, printed,

typed, handwritten or other readable Documents, correspondence, memoranda, reports, contracts,

both initial and subsequent, diaries, logbooks, minutes, notes, studies, surveys, forecasts, emails,

text messages, and instant messages. A Request for Documents concerning any Communication

among or between specified parties includes a request for any Communication among or between

such parties, whether or not such Communication included or was directed to any other person.

       3.      The term “concerning” shall mean describing, discussing, constituting, containing,

considering, embodying, evaluating, mentioning, memorializing, supporting, collaborating,

demonstrating, proving, evidencing, showing, refuting, disputing, rebutting, controverting,

contradicting, made in connection with or by reason of, or derived or arising therefrom.

       4.      “Debtors” shall mean Sorrento Therapeutics, Inc. and all other debtors listed on the

website of the Debtors’ claims and noticing agent at https://cases.stretto.com/sorrento/, including
     Case 23-90085 Document 1594-4 Filed in TXSB on 11/27/23 Page 8 of 14




any of their current and former officers, directors, executives, managers, employees, or agents,

including any investigators, accountants, consultants, attorneys, financial advisors, investment

bankers, other representatives, or any other Persons acting or purporting to act on their behalf.

       5.      “Document” or “Documents” shall have the meaning prescribed by Rule 7034 of

the Federal Rules of Bankruptcy Procedure, including, without limitation, any tangible thing upon

which any expression, communication or representation has been recorded by any means

including, but not limited to, handwriting, typewriting, printing, photostating, photographing,

videotaping, magnetic impulse, computer disks, computer storage drives, computer tapes, or

mechanical, electronic or digital recording or information storage of any kind, and any non-

identical copies (whether different from the original because of notes made on such copies, because

of indications that said copies were sent to different individuals than were the originals, or because

of any other reason), including but not limited to working papers, preliminary, intermediate or

final drafts, correspondence, memoranda, electronic mail, charts, notes, records of any sort of

meetings, financial calculations, diaries, reports of telephone or other oral conversations, desk

calendars, appointment books, and all other writings and recordings of every kind that are in Your

actual or constructive possession, custody, or control.

       6.      The term “including” shall mean “including, but not limited to” and “including,

without limitation.”

       7.      The term “Person” shall include both the singular and the plural, and means any

natural person, business entity, corporation, cooperative, bureau, public corporation, partnership,

joint venture, group, club, association, institute, society, office, organization, and any

governmental entity or department, agency, bureau, or political subdivision thereof.




                                                  2
     Case 23-90085 Document 1594-4 Filed in TXSB on 11/27/23 Page 9 of 14




       8.      “You” or “Your” shall refer to the addressee of these Requests and any of its current

or former Advisors.

       9.      For purposes of the Requests herein, terms not specifically defined shall be given

their ordinary meanings as You understand them to be used.

       10.     Whenever necessary to bring Documents or other information within the scope of

these Requests that might otherwise be construed to be outside their scope: the use of a verb in any

tense shall be construed as the use of that verb in all other tenses; the use of a word in its singular

form shall be deemed to include within its use the plural form as well; the use of a word in its

plural form shall be deemed to include within its use the singular form as well; the connectives

“and” and “or” shall be construed either disjunctively or conjunctively as necessary to bring within

the scope of the Requests all Documents that might otherwise be construed to be outside its scope;

and the terms “all” and “each” shall be construed as both all and each.



                            [Remainder of page intentionally left blank]




                                                  3
     Case 23-90085 Document 1594-4 Filed in TXSB on 11/27/23 Page 10 of 14




                                            INSTRUCTIONS

        1.      All discovery in connection with these Requests shall be subject to and conducted

in accordance with the terms of the Stipulated Protective Order [Dkt. No. 235] entered on March

16, 2023.

        2.      These Requests shall be deemed continuing in nature so as to require further and

supplemental production if You obtain additional information or Documents between the time of

initial production and the time of trial.

        3.      All Documents produced in response to a Request should be marked with a Bates

number or other such similar numbering system. When You refer to a Document produced in

response to a specific Request, a reference to the corresponding Bates number should also be made.

        4.      In producing Documents responsive to the following Requests, You are instructed

to produce all Documents in Your custody, control or possession, including Documents in the

custody, control or possession of Your attorneys, agents, or other representatives. You are also

requested to produce any Document which is no longer in Your immediate physical possession,

but which You have a right to compel production from a third-person or which is otherwise subject

to Your control.

        5.      If any or all Documents identified herein are no longer in Your possession, custody,

or control because of destruction, loss, or any other reason, then with respect to each and every

such Document: (a) describe the nature of the Document (e.g., letter or memorandum); (b) state

the date of the Document; (c) identify the persons who sent and received the original and a copy

of the Document; (d) state in as much detail as possible the contents of the Document; and (e) state

the manner and date of disposition of the Document.




                                                 4
    Case 23-90085 Document 1594-4 Filed in TXSB on 11/27/23 Page 11 of 14




       6.      If any of the Documents identified herein are withheld for privilege, You shall make

Your claim of privilege in accordance with Federal Rule of Civil Procedure 26(b)(5).

       7.      If a portion of an otherwise responsive Document contains information subject to a

claim of privilege, only that portion of the Document subject to the claim of privilege shall be

deleted or redacted from the Document following the instructions in the preceding paragraph and

the rest shall be produced.

       8.      For any other Documents You identify and are withheld for any reason or claim,

You shall state the following so that Your claim for withholding the Document may be assessed:

       (a)     the ground of nondisclosure asserted;

       (b)     a statement of facts constituting the basis for the ground of nondisclosure;

       (c)     a brief description of the Document, including:

              i. the date of the Document;

             ii. the names of its author(s) or preparer(s) and identification by employment and

                 title of each such person;

             iii. the names of each person who was sent or had access to or custody of the

                 Document, together with an identification by employment of each such person;

                 and

             iv. describe the nature of the Documents, communications or tangible things not

                 produced or disclosed.

       9.      Requests which cannot be complied with in full shall be responded to as completely

as possible, and incomplete responses shall be accompanied by a specification of the reasons for

the incompleteness of the response, as well as by a statement of whatever knowledge, information

or belief You possess with respect to each request to which You have not completely responded.



                                                 5
      Case 23-90085 Document 1594-4 Filed in TXSB on 11/27/23 Page 12 of 14




        10.    If any Document subject to any discovery request has been destroyed, cannot be

located by You, or is no longer thought to be in existence, please so indicate and state the reason

for the destruction of said Document, its last known location, by whom it was destroyed, when it

was destroyed, and the description of the Document in a fashion sufficient to identify and describe

it.


                           [Remainder of page intentionally left blank]




                                                6
    Case 23-90085 Document 1594-4 Filed in TXSB on 11/27/23 Page 13 of 14




                                   DOCUMENT REQUESTS

         1.   All Documents and Communications between You and the Debtors’ Advisors.

         2.   All Documents and Communications relating to Your role in the Chapter 11 Cases.

         3.   All Documents and Communications identifying any conflicts of Latham &

Watkins LLP and Jackson Walker LLP that would require Your retention.

         4.   All Documents and Communications concerning any personal relationships

between You and the Debtors’ Advisors.

         5.   All Communications between You and Judge David R. Jones concerning the

Debtors or the Chapter 11 Cases.

         6.   All Communications between You and any Person concerning the Chapter 11

Cases.



                         [Remainder of page intentionally left blank]




                                              7
    Case 23-90085 Document 1594-4 Filed in TXSB on 11/27/23 Page 14 of 14




Dated: November 11, 2023


                                   GLENN AGRE BERGMAN & FUENTES LLP

                                   By: /s/ Andrew K. Glenn
                                   Andrew K. Glenn (pro hac vice)
                                   Kurt A. Mayr (pro hac vice)
                                   Shai Schmidt (pro hac vice)
                                   Richard C. Ramirez (pro hac vice)
                                   1185 Avenue of the Americas
                                   New York, New York 10036
                                   Telephone: (212) 970-1601
                                   Email: aglenn@glennagre.com
                                   kmayr@glennagre.com
                                   sschmidt@glennagre.com
                                   rramirez@glennagre.com

                                   Counsel to the Official Committee of Equity
                                   Securities Holders




                                      8
